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SUMMARY OF EMPLOYMENT
BRIAN R. KODISH
START DATE: June 11, 2003

. June 2, 2003. employee began first scheduled shift, all necessary paperwork was completed by

employee including the explanation and review of the Employee Policy Manual.
June 11, 2003, employee completed Emergency Vehicle Operations course as created by

Volunteer Fireman’s Insurance Service (VFIS) to operate the Fire Districts’ Medic Units and
Pick Up truck.

. June 20, 2003, employee completed minimum requirements set forth by Fire District Policy

relating to refresher training at the Firefighter II level. Upon completing the above task, employee
shall be permitted to operate and participate in all fire service related task assignments under the
direct supervision of a Company Officer.

August 20, 2003, Fire Chief Gregory J. Sebesta was approached by Firefighter / EMT-B Michael
Kuryla indicating that he was approached by Firefighter / Paramedic Brian R. Kodish requesting
that Michael Kurlya contact Firefighter / Paramedic Ryan Gilleran to get his viewpoint in Brian
Kodish pursuing a Collective Bargaining Unit amongst the Full Time employees.

. August 20, 2003, Fire Chief Gregory J. Sebesta contacted Board President Valle indicated the

conversation with Michael Kuryla and requested verbal consent to contact Legal Counsel for

proper review relating to Collective Bargaining Statute. Consent given by Board President Valle
to contact Legal Counsel.

. August 25, 2003, Fire Chief Gregory J. Sebesta contacted Fire District Attorney John Fassola

relating to the August 20, 2003 matter.

August 28, 2003, Fire Chief Gregory J. Sebesta received correspondence from Attorney Fassola
relating to the telephone conversation conducted on August 25, 2003 between Fire Chief Gregory
J. Sebesta and Fire District Counsel. “SEE OPINION LETTER DATED AUGUST 28, 2003”.
September 2, 2003, employee earned 24 hours of accrued sick time for completion of first of
probationary period.

September 10, 2003, Fire Chief Gregory J. Sebesta and Fire District Attorney reviewed an opinion
letter that was drafted August 28, 2003 by Attorney Fassola relating to the Illinois Public Labor

Relations Act 5 ILCS 315/1 et.seq. This discussion was held during regular session of the Board
of Trustees meeting held on the above date.

10. September 12, 2003, employee completed Emergency Vehicle Operations course as created by

Volunteer Fireman’s Insurance Service (VFIS) to operate the Fire District’s two Engine
Companies.

11. September 12, 2003, Fire Chief Gregory J. Sebesta advised F irefighter / Paramedic Brian Kodish

of the opinion letter that was discussed at the September 10, 2003 Board of Trustees meeting
relating to Collective Bargaining Statute. Chief Sebesta further indicated to Firefighter /
Paramedic Kodish that if there are issues of this magnitude to address them directly to the Fire
Chief and not get other employees involved with issues that they can not render a decision on.
Firefighter / Paramedic Kodish further indicated to Chief Sebesta that the whole situation was
blown out of proportion and that it is his opinion that a union would be good to have in place if the
Board of Trustees decided to take benefits away from its’ Full Time employees.

12. September 21, 2003, “See Memo received from Captain David Clark”.

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13. September 24, 2003, employee requested 12 hours of sick time, followed policy in calling into
work. Sick time granted.
14. October 27, 2003, Fire Chief Gregory J. Sebesta reviewed with employee Brian R. Kodish his first
quarter review of employment toward completing his probationary period. No comments noted by the
employee on his review. “See attached review”.
15. November 5, 2003, employee requested 12 hours of sick time, followed policy in calling into
work. Sick time granted. As of 11/5/03 employee has no accrued sick time available.
16. November 14, 2003, Fire Chief Gregory J. Sebesta received a telephone call at approximately
8:15 pm on the above date from Captain David Clark. Captain Clark advised me that he had himself,
Lt. Turkovich, Firefighter / Paramedic Brian Kodish and Firefighter / Emt Donald Bodan in the office
trying to work out a personality clash between Brian Kodish and Donald Bodan. Captain Clark
advised me that the meeting turned very hostile and that he requested my presence at the meeting. Fire
Chief Gregory J. Sebesta arrived at the station at 8:45 pm and was briefed by Captain Clark as to what
had transpired during the meeting. Upon reconvening into the meeting, Chief Sebesta advised all
parties involved that this was not a disciplinary meeting / hearing but a discussion to find out what
conflicts there are between employees Donald Bodan and Brian Kodish. After a lengthy discussion, it
was deemed that both individuals shall and must view employee relations in a positive note as a high
priority and that both individuals involved are causing negativity throughout the department with their
poor attitudes. The meeting was adjourned at 10:45 pm with both parties agreeing that their
employment status could be in jeopardy if their conduct as presented continues. “No disciplinary
action taken toward either Brian R. Kodish or Donald Bodan”.
17. December 2, 2003, employee earned 24 hours of accrued sick time for completion of 2 quarter of
probationary period.
18. December 4, 2003. Employee upon review of his pay stub questioned as to why Social Security
Taxes were being withheld, upon review by Chief Sebesta and Renee Boksa a payroll input error had
occurred and the necessary changes have been made. Employee further indicated that this deduction
had been questioned before and that nothing was done by either Chief Sebesta or Renee Boksa.
19. December 10, 2003, Fire Chief Gregory J. Sebesta advised the Board of Trustees at the regular
meeting that a payroll error had occurred with Brian R. Kodish payroll. Chief Sebesta further
indicated that Social Security Taxes were withheld inadvertently and that the Board should consider
reimbursing the employee the amount of $ 1,175.91. The Board agreed to make a disbursement check
to employee Brian R. Kodish in the amount not to exceed $ 1,175.91 for payroll taxes that were
inadvertently withheld. “See attachment / agreement relating to the above matter”.
20. December 11, 2003, employee received 24 hours of available accrued sick time for the completion
of his second quarter of probationary employment. As of December | 1, 2003, employee has accrued a
total of 24 hours of available sick time.
2{. December 12, 2003, Fire Chief Gregory J. Sebesta received a telephone call from Firefighter /
Paramedic Brian Kodish. The telephone conversation was in relation to personal issues that Brian is
having with several Fire District employees. After a lengthy telephone conversation with Brian
Kodish, I closed the conversation by indicating to him that all employees need to focus on their job
responsibililies and to put aside personal issues with other Fire District employees. I further indicated

to Brian that most issues that have been brought to my attention are those that have been deemed non-
operational.

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22. December 15. 2003, at the request of employee Brian R. Kodish, a request for a shift change was
received by Fire Chief Gregory J. Sebesta. Upon review the shift change request was granted. “See
attached memo dated December 14, 2003, received by Chief Sebesta on December 15, 2003”.

23. December 15, 2003, received memo from Firefighter / Paramedic Arends. “See attached memo”.
24. December 23. 2003, Fire Chief Gregory J. Sebesta received personal injury report from employee
Brian R. Kodish. "See attached Memo”. “See attached Memo” that was received by Lt. Johnny
Turkovich and forward to Fire Chief Gregory J. Sebesta relating to the reporting of a personal injury
from Brian R. Kodish. Employee Brian Kodish was given a verbal reprimand from Fire Chief Gregory
J. Sebesta for not complying with Fire District policy by not reporting immediately a job related
illness / injury. Fire Chief Gregory J. Sebesta later downgraded reprimand to an educational reminder
due to employee Kodish indicating that he would have reported injury if he knew he was actually

hurt / injured.

25. December 29, 2003, received a copy of a memo dated December 15, 2003 from Captain Clark that
he had received from Lt. Halik. “See attached memo”.

26. January 2, 2004, “See attached Memo” drafted to Ms. Diaz relating to personal injury report from
Fire Chief Gregory J. Sebesta including Form 45 Employers First Report of Injury or IIIness.

27. January 7, 2004, “See attached document” relating to employee Brian R. Kodish receiving
Illinois Industrial Commission Employee handbook relating to December 23, 2003 Form 45.

28. January 8, 2004, employee requested 12 hours of sick time, followed policy in calling into work.
12 hours of sick time granted for regularly scheduled shift of January 9, 2004, 6:00am thru 6:00pm.
29. January 8, 2004, received memo from Ems coordinator Patrick Arends in reference to Firefighter /
Paramedic Brain Kodish being deficient in completing Ambulance Run reports properly.

“See attached memo”.

30. January 12, 2004, received memo Firefighter / Paramedic Brian Kodish, requesting that his Kelly
Day be moved to February 20, 2004. Request granted by Fire Chief Gregory J. Sebesta, see memo
from Brian Kodish as reference only.

31. January 15, 2004, employee Brian Kodish is scheduled to meet with Fire Chief oregon) J. Sebesta
to conduct employee’s second quarter probationary period review. “See attached review”

32. January 21, 2004, Fire Chief Gregory J. Sebesta conducted 2™ quarter probationary review with
employee Brian R. Kodish. No additional comments noted in review by employee. “See attached
review”

33. February 26, 2004, probationary employee Brian Kodish receives verbal reprimand (See
Attachment).

34. February 29, 2004, employee requested 24 hours of sick time, followed policy in calling into
work. 24 hours of sick time granted for regularly scheduled shift of February 29, 2004, 6:00am thru
6:00am.

35. March 2, 2004, employee earned 24 hours of accrued sick time for completion of 3 quarter of
probationary period.

36. March 3. 2004, Fire Chief Gregory J. Sebesta was approached by employee Brian Kodish relating
to an injury that he claimed occurred on December 17, 2003. He advised me that he went to his own
Physician, and the Physician felt that an MRI would be best for his patient. I advised employee Brian

Kodish that I would contact the Fire Districts’ Workers Compensation Company and advise him of
their decision.

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37, March 4, 2004, Fire Chief Gregory J. Sebesta contacted Elaine Serafino from the Illinois Public
Risk Fund and advised her on the above situation / inquiry made by employee Brian Kodish. Elaine
advised me to contact employee Brian Kodish directly and have him contact the Illinois Public Risk
Fund at 1-888-532-6981 x 2726. Telephone.contact made with employee Brian Kodish on March 4,
2004 at 1:30pm advising him on what Elaine Serafino indicated to me.

38. March 22, 2004, Fire Chief Gregory J. Sebesta received faxed copy from Open MRI of Olympia
Fields, LLC. of MRI results pertaining to employee Brian Kodish.(See Attachment)

39. March 24, 2004, Fire Chief Gregory J. Sebesta received faxed copy of unable to return to work as
of March 24, 2004 from Dr. Mehl of Suburban Heights Medical Center. (See Attachment)

40. As indicated of above fax memo, employee Brian Kodish is scheduled to have surgery May 7,
2004.

41. June 2, 2004, employee earned 72 hours of accrued sick time for completion of probationary
period.

42. June 2, 2004, employee earned 144 hours of accrued sick time for reaching anniversary period.
43. July 23, 2004, Fire Chief Gregory J. Sebesta received fax memo from Dr.Mehl releasing employee
Brian Kodish back to full duty to his normally assigned shift of July 25, 2004. Copy of this release
forward to [linots Public Risk Fund.

44. July 27, 2004, Fire Chief Gregory J. Sebesta, received fax copy of IME Report from Illinois
Public Risk Fund.

45. July 29, 2004, Fire Chief Gregory J. Sebesta delivered copy of above report to Corporate Counsel
John Fassola, of the Law firm of Power & Cronin Ltd. Oak Brook, IL. Also included to attorney
Fassola was a financial breakdown of the Expenses and Revenues complied by the Oakbrook Terrace
Fire Protection District during the absence of employee Brian Kodish from the period of March 25,
2004 through July 24, 2004.

46. August 2, 2004, Fire Chief Gregory J. Sebesta received phone call from Firefighter Paramedic
Brian Kodish at 4:40 pm. Brian had indicated that he had received a letter from [Illinois Public Risk
Fund the Fire Districts’ Worker Comp carrier indicating that they have denied his claim of 12/17/03
and that they have viewed this as not a job related injury. I advised Brian Kodish that I have received
a copy of the same letter from IPRF and that he should contact them directly. The letter received by
him was drafted by IPRF and not an agent or representative of the Oakbrook Terrace Fire Protection
District. Brian responded by indicating that he will contact IPRF for explanation on

Tuesday August 3, 2004.

47. August 9, 2004, employee Brian Kodish contacted the station and advised that he could not work
his scheduled shift. Employee was deducted 24 hours from his accrued sick time.

48. August 11, 2004, the Board of Trustees / Fire Commissioners directs Fire Chief Gregory J.
Sebesta to draft letter of termination to Full Time Commissioned Probationary Firefighter Paramedic
Brian Kodish.

49. August 12, 2004, Fire Chief Gregory J. Sebesta conducts interview with employee Brian Kodish at
approximately 3:00 PM on the above date. Chief Gregory J. Sebesta explains to employee Brian
Kodish that the Board of Trustees / Fire Commissioners have authorized Fire Chief Gregory J.
Sebesta to draft a letter of terminated relating to his employment with the Fire District. [ advised Brian
Kodish that | would recommend that he resign from his position with the Fire District verses being
terminated. Brian Kodish accepted my suggestion of resigning his position. I further indicated to
Brian Kodish that his resignation would be forwarded to the Board of Trustees / Fire Commissioners

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for review, approval or denial. Former employee Brian Kodish left property approximately one hour
after interview with Fire Chief Gregory J. Sebesta.

50. August 19, 2004, Chief Gregory J. Sebesta received Cobra Benefits information packet for former
employee Brian Kodish.

51. August 20, 2004, Fire Chief Gregory J. Sebesta met with former Fire District employee to return
items and belongings of the Oakbrook Terrace Fire Protection District. Note, former employee did not
return Full Time Commissioned Employee Wage & Benefit Policy. Former employee requested
another copy of the Fire Districts’ sick policy with Chief Sebesta supplied him with. Former employee
was also given the Cobra Benefits Packet supplied by Fortis Insurance.

52. September 7, 2004, Fire Chief Gregory J. Sebesta sent via Certified Mail the Schedule Page of
benefits to Brian Kodish pertaining to his Cobra Insurance provided by Fortis Insurance Company.

53. September 8, 2004, The Board of Trustees / Fire Commissioners reviews copy of resignation letter

_ from former employee Brian Kodish at regular meeting. The Board accepts resignation letter with no

further action.

54. December 2, 2004, Fire Chief Gregory J. Sebesta received express mail delivery from former
employee Brian Kodish (See Attachment). Above attachment was faxed to Corporate Counsel John
Fassola for review.

55. December 3, 2004, Payroll check was sent to former employee Brian Kodish for earned but not
used accrued sick time less amount subtracted for Cobra Coverage liability. Upon audit of accrued
sick time earned for former employee Brian Kodish, it was determined that the Oakbrook Terrace Fire
Protection District still owes Brian Kodish 72 hours of accrued sick that will be sent to him upon
processing of the Fire District next payroll period.

(See Attachment of payroll check sent December 3, 2004).

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OAKBROOK TERRACE FIRE PROTECTION DISTRICT
Minutes of Meeting
Conducted during Closed Session
August 11, 2004

CLOSED SESSION:

The roll call indicated the following: Present: Trustees Ventura, Sarallo, Dragovich, Chief Sebesta,
Attomey Fassola, Secretary Boksa. Absent: None

President Ventura called the Closed Session to order at 7:48 pm.
Dragovich moved, seconded by Sarallo. —
Roll Call: Ventura, Sarallo, Dragovich. Absent: None

~ MOTION PASSES

Chief Sebesta thanked the Board for going into Closed Session for Personnel Matters.
Personnel matters were discussed in Closed Session.

Dragovich moved, seconded by Sarallo to adjourn the Closed Session and return to the regular meeting at
8:47 pm.
Roll Call: Ventura, Sarallo, Dragovich. Absent: None

MOTION PASSES

_ Submitted by,

~~ A t ( i \ * f
Renee F. Boksa
Recording Secretary ~

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OAKBROOK TERRACE FIRE PROTECTION DISTRICT
BOARD OF TRUSTEES
REGULAR MEETING MINUTES
AUGUST 11, 2004

CALL TO ORDER:

Trustee Ventura called the Regular Meeting of the Board to order at 7:00 PM.

ROLL CALL

The roll call indicated the following: Present: Trustees Ventura, Sarallo, Dragovich
Also Present: Chief Sebesta, Attomey John Fassola
Absent: None

PLEDGE OF ALLEGIANCE

The Pledge of Allegiance was said by all present.

MINUTES OF THE PRIOR MEETING

MOTION Sarallo motioned to approve the Regular Meeting Minutes of July 14, 2004, seconded by
Dragovich.
Roll Call: Ventura, Sarallo, Dragovich. Absent: None
APPROVE
MOTION PASSES
MINUTES

FINANCIAL TREASURER’S REPORT

Trustee Sarallo read the Treasurer's re
Terrace, balance $ 9,897.79.

The District’s Oak Brook Bank account’s balance is $ 284,054.44.

port as follows: For July 31, 2004, Harris Bank of Oakbrook

Sarallo motioned to approve thé Treasurer's Report as presented, seconded by Dragovich.
Roll Call: Ventura. Sarallo, Dragovich. Absent: None

MOTION PASSES

PUBLIC PARTICIPATION

There was no public participation at this time.

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OAKBROOK TERRACE FIRE PROTECTION DISTRICT

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IARD OF TRUSTEES

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OLD BUSINESS
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Annual Budget & Appropriation Ordinance #04-05-01: Trustee Ventura read and reviewed the
Annual Budget & Appropriation Ordinance #04-05-01 for the fiscal year beginning June !, 2004 and
ending May 31.2005.
Trustee Sarallo motioned to approve the Annual Budget & Appropriation Ordinance #04-05-01 as
presented, seconded by Dragovich:
Rall Calf: Ventura, Sarallo, Dragovich. Absent: None

MOTION PASSES

Resolution #04-02/Vehicle Lease Purchase Agreement/Ford Motor Credit Co.: The Board of

previously enacted on the May 12, 2004 meeting.

Dragovich motioned to approve Resolution #04-02 as presented, seconded by Sarallo.
Roll Call: Ventura, Sarallo, Dragovich. Absent: None.

MOTION PASSES

Resolution 404-03 to Amend Trustee’s Sala ry: President Ventura and the Board of Trustees
reviewed the resolution to amend the Trustee's annual compensation. Trustee Dragovich stated that he
did not feel it was nec

appropriate and well deserved for the Trustees. Chief Sebesta referred to all the hours and demands

that are put on the Trustees, who also serve as Fire Commissioners for the District and the Pension
Board.

Dragovich motioned to approve Resolution #04-03 as Presented, seconded by Sarallo.
Roll Call: Aves: Ventura, Sarallo. Nay: Dragovich

MOTION PASSES

Other New Business:
No other new business was required at this time.

CLOSED SESSION
SSE SEDO TON

No closed session was required at this time.
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OARBROOK TERRACE FIRE PROTECTION DISTRICT
BOARU OF TRUSTEES

REGULAR MEETING MINUTES

August [1.2004

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NEW BUSINESS

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Review and Approve Current Bills: Trustee Sarallo read the grand total of $ 19,968.45 for
current bills as of August 11, 2004,

Sarallo motioned to approve the current bills as presented, seconded by Dragovich.
Rall Call: Ventura, Sarallo, Dragovich. Absent: None

MOTION PASSES

Ordinance #04-04 Relating to Tax Referendum Filing: The District is submitting a Referendum

to increase the tax revenue from 1.9% to 4.9%. If this referendum passes, it would increase the

t.

District's revenue a total of $52,000.00. These additional monies would enable the District to
service the community ata higher level, with much needed improvements such as replacing the
ambulance and replacing the cardiac monitors with the latest technology. The last referendum
passed was in November 2000. Because the District has more businesses in town, which bring in
most of the revenue, the cost to the homeowner would only increase approximately $2.50-$3.50
per vear.

Dragovich motioned to approve the submitting of the Tax Referendum. Ordinance #04-04 as
Presented, seconded by Sarallo. :

Roll Call: Ventura, Sarallo, Dragovich. Absent: None.

MOTION PASSES

Resolution #04-04 relating to NIMS/National Incident Management System: Chief Sebesta
explained to the Board of Trustees how NIMS operates. This is a required government approach
for all entities to work under a unified command center. There are specific government guidelines
that are followed, to prepare and respond to disaster incidents.

Sarallo motioned to approve Resolution #04-04, adopting NIMS, seconded by Dragovich.

Roll Call: Ventura, Sarallo, Dragovich. Absent: None.

Other New Business:
No other new business required at this time.

SPONDENCE

No correspondence required at this time.
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Aueust EL. 2004

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FIRE CHIEFS' REPORT

A. Personnel Matters/Issues: Chief Sebesta requested a Closed Session to discuss personnel
matters at 7:47pm.

Sarallo motioned to go into Closed Session, seconded by Dragovich.
Roll Call: Ventura, Sarallo, Dragovich. Absent: None.

MOTION PASSES

RETURNED TO REGULAR SESSION

Trustee Dragovich motioned to return to regular meeting session at 8:49pm, seconded by Sarallo.
Roll Call: Ventura, Sarallo, Dragovich. Absent: None.

MOTION PASSES

Personne! matters were discussed in Closed Session.

The Board of Trustees/Board of Fire Commissioners authorized Chief Sebesta to draft a letter to.
terminate the employment of Probationary Commissioned Firefighter/Paramedic Brian Kodish.
Sarallo motioned to approve this authorization, seconded by Dragovich.

Roll Call: Ventura, Sarallo, Dragovich. Absent: None.

MOTION PASSES
B. Bid Proposals for Cardiac Monitor Replacement: Chief Sebesta presented to the Board
two proposals for cardiac monitors. The first bid was from Medtronics Physio-Control for
$14,500.00 plus a.maintenance agreement of $760.00 per year which includes all upgrades of
software and any breakage of the monitor. The second bid was from Zoll Manufacturing for
$721.561.37. All of the Paramedics had the opportunity to work with both models. EMS
Coordinator, FF/PM Pat Arends explained in detail to the Trustees, the importance and life
saving features of the monitor.
Sarallo motioned to approve the purchase of a cardiac monitor from Medtronics Physio-
Control per quote, not to exceed $15,260.00, seconded by Ventura.
Rall Call: Ventura, Sarallo, Dragovich. Absent: None.

MOTION PASSES

{.  Purposed IPPFA Deferred Compensation Plan: Chief Sebesta in formed the Board that
the istrict is looking at a outside vendor regarding deferred compensation. Chief Sebesta
wil have mare information and more discussion at the September meeting.
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OARBROOK TERRACE FIRE PROTECTION DISTRICT
HOARD OF TRUSTEES

REGULAR MEETING MINUTES

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LEGAL COUNSEL REPORT

There was no report needed at this time.

ADJOURNMENT

MOTION Sarallo moved, seconded by Dragovich to adjourn the Meeting.
ADIOURN Roll Call: Ventura, Sarallo, Dragovich. Absent: None

MOTION PASSES
The regular meeting of the Oakbrook Terrace Fire Protection District Board
adjourned at 9:18 pm.

Submitied by,

oi? Olek a.

I
Renee F. Boksa
Recording Secretary
